            Case 2:06-cr-00149-RSM          Document 335       Filed 02/11/08      Page 1 of 1




                                                                    Honorable Ricardo S. Martinez
1

2

3

4                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
5
                                        AT SEATTLE
6
      UNITED STATES OF AMERICA,
7                                                      No. 06-00149 RSM
                             Plaintiff,
8                   v.
                                                       ORDER ON MOTION TO CORRECT
9                                                      JUDGMENT AND SENTENCE AND
      TERRY RAYMOND                                    DIRECT ADJUDGMENT IN CUSTODY
10                                                     RELEASE DATE
                           Defendant.
11
            Terry Raymond, by and through his attorney Allen M. Ressler, having moved this Court
12
     for an Order Correcting Amended Judgment and Sentence and Clarification of In Custody
13
     Release Date, the Court having reviewed the records and files herein, having noted the
14
     stipulation of Assistant U.S. Attorney Sarah Vogel, and being otherwise fully advised, now,
15
     therefore,
16
            IT IS HEREBY ORDERED:
17
            The Amended Judgment and Sentence filed January 29, 2007 is hereby amended to
18
     accurately reflect this Court’s order that Mr. Raymond’s Federal incarceration shall run
19
     concurrent with the State’s 18 month sentence imposed under Kitsap County Cause Number
20
     06-9-00924-7 which began on April 14, 2006.
21
            The Federal Bureau of Prisons is directed to adjust the release date of Terry Raymond
22
     accordingly.
23
            DATED: February 11, 2008.


                                                  A
24

25
                                                  RICARDO S. MARTINEZ
26                                                UNITED STATES DISTRICT JUDGE
                                                                   RESSLER & TESH PLLC
                                                                   821 2nd Avenue, Penthouse Suite
                                                                   Seattle, Washington 98104-1540
                                                                    Office (206) 388-0333
                                                                   Fax: (206) 388-0197
